            IN THE UNITED STATES DISTRICT COURT FOR THE
                  MIDDLE DISTRICT OF PENNSYLVANIA

 THE PENNSYLVANIA STATE
 UNIVERSITY,

              Plaintiff and            Case No. 4:21-cv-01091-MWB
              Counter-Claim Defendant, (Hon. Matthew W. Brann)

       v.
                                             JURY TRIAL DEMANDED
 VINTAGE BRAND, LLC;

              Defendant and
              Counter-Claim Plaintiff
 and

 SPORTSWEAR INC. d/b/a PREP
 SPORTWEAR; CHAD
 HARTVIGSON; ERIK
 HARTVIGSON; and MICHELLE
 YOUNG,

              Defendants.

    VINTAGE BRAND, LLC’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56, and for the reasons set forth

in the accompanying Brief and Statement of Facts, Defendant Vintage Brand, LLC

hereby moves for summary judgment on the merits of all of the claims set forth in

Plaintiff The Pennsylvania State University’s Second Amended Complaint. Vintage

Brand further moves for summary judgment on Count I of its Counterclaims and

respectfully requests that the Court grant relief in the form of ordering that the Patent
and Trademark Office cancel Trademark Registration Nos. 1,276,712 and

5,877,080.

      A proposed order is attached.


Dated: June 2, 2023                   Respectfully submitted,

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       CERTIFICATE OF CONCURRENCE/NON-CONCURRENCE

      I, Joshua D. Harms, certify that on June 1, 2023, counsel for Defendant

Vintage Brand, LLC conferred with counsel for Plaintiff The Pennsylvania State

University regarding the relief that Vintage Brand seeks in this Motion. Plaintiff’s

counsel does not concur with Vintage Brand’s requested relief.


Dated: June 2, 2023                   By: /s/ Joshua D. Harms
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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing Motion for Summary

Judgment and supporting Brief and Statement of Facts with the Clerk of the Court

using the CM/ECF system on this 2nd day of June 2023, which constitutes service

on Plaintiff pursuant to Fed. R. Civ. P. 5(b)(2)(E):

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